CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 1of10

Sec N4 Ext] DIF
UNITED STATES DISTRICT COURT

DISTRICT OF MINNESOTA
UNITED STATES OF AMERICA, INDICTMENT
Plaintiff, 18 U.S.C. § 1348
18 U.S.C. § 981(a)(1)(C)
V. 21 U.S.C. § 853(p)

28 U.S.C. § 2461(c)
HIBO SALAH DAAR,

Defendant.
THE UNITED STATES GRAND JURY CHARGES THAT:

At times relevant to the indictment:

INTRODUCTION

1. The defendant devised and carried out a multi-million dollar scheme to
defraud the federal child nutrition program, a program designed to provide free meals
to children. The defendant obtained, misappropriated, and laundered millions of
dollars in program funds that were intended as reimbursements for the cost of serving
meals to children. The defendant capitalized on changes in the program intended to
ensure that underserved children received adequate nutrition during the Covid-19
pandemic. The defendant exploited the Covid-19 pandemic—and the resulting
program changes—to enrich herself by fraudulently misappropriating millions of
dollars in federal child nutrition program funds.

A. Background on the Federal Child Nutrition Program

2. The Food and Nutrition Service is an agency of the United States

Department of Agriculture (USDA) that administers various federal child nutrition

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CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 2 of 10

United States v. Hibo Salah Daar

programs, including the Summer Food Service Program and Child and Adult Care
Food Program (together, the “Federal Child Nutrition Program”).

3. The Summer Food Service Program is a federal program established to
ensure that children continue to receive nutritious meals when school is not in
session. The Summer Food Service Program reimburses non-profit organizations and
other participating entities that serve free healthy meals and snacks to children and
teens 1n low-income areas.

4. The Child and Adult Care Food Program is a federal program that
reimburses non-profit organizations and other participating entities that serve
healthy meals and snacks to children and adults at participating child care centers,
day care homes, and after-school programs.

5. The Federal Child Nutrition Program operates throughout the
United States. The USDA’s Food and Nutrition Service administers the programs at
the national and regional levels by distributing federal funds to state governments,
which provide oversight of the Federal Child Nutrition Program.

6. The Minnesota Department of Education (MDE) administers the
Federal Child Nutrition Program in Minnesota.

7. Meals funded by the Federal Child Nutrition Program in Minnesota are
served at “sites.” Each site participating in the Federal Child Nutrition Program must
be sponsored by an organization that is authorized to participate in the Federal Child

Nutrition Program. Sponsors are required to submit an application to MDE for each
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 3of10

United States v. Hibo Salah Daar

site. Sponsors are responsible for monitoring each of their sites and preparing
reimbursement claims for their sites.

8. Sponsors submit reimbursement claims to MDE on behalf of sites under
their sponsorship. The USDA provides federal reimbursement funds to MDE on a
per-meal basis. MDE provides the federal funds to the sponsoring agency, which in
turn pays the reimbursement funds to the sites under its sponsorship. The sponsoring
agency retains ten to fifteen percent of the funds as an administrative fee in exchange
for sponsoring the sites, submitting reimbursement claims, and disbursing the
federal funds.

9. Historically, the Federal Child Nutrition Program has provided meals
to children involved in education-based programs or activities. During the Covid-19
pandemic, the USDA waived several of the standard requirements for participation
in the Federal Child Nutrition Program. Among other things, the USDA allowed
for-profit restaurants to participate in the program. It also allowed for food
distribution to children outside of educational programs. At the same time, the state
government's stay-at-home order and telework policies made it more difficult to
oversee the program. These changes left the program vulnerable to fraud and abuse.

B. Feeding Our Future

10. Feeding Our Future was a Minnesota non-profit organization
purportedly in the business of helping community partners participate in the Federal
Child Nutrition Program. Aimee Bock was the founder and executive director of
Feeding Our Future. Feeding Our Future was an approved sponsor of the

Federal Child Nutrition Program.
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 4 of 10

United States v. Hibo Salah Daar

11. Prior to the onset of the Covid-19 pandemic, Feeding Our Future was a
small non-profit that sponsored the participation of Minnesota daycares and
after-school programs in the Federal Child Nutrition Program.

12. Beginning in approximately April 2020, Feeding Our Future
dramatically increased the number of sites under its sponsorship as well as the
amount of Federal Child Nutrition Program funds received by those sites.
Feeding Our Future went from receiving and disbursing approximately $3.4 million
in federal funds to sites under its sponsorship in 2019 to nearly $200 million in 2021.

13. Aimee Bock oversaw a scheme to defraud, carried out by sites under the
sponsorship of Feeding Our Future. Aimee Bock and Feeding Our Future sponsored
entities that submitted fraudulent reimbursement claims and fake documentation.
In 2020 and 2021, Aimee Bock and her company sponsored the opening of nearly
200 Federal Child Nutrition Program sites, knowing that the sites were submitting
fraudulent claims.

14. In exchange for sponsoring the sites’ fraudulent participation in the
program, Feeding Our Future received nearly $18 million in Federal Child Nutrition
Program funds as administrative fees in 2021. Because the amount of administrative
fees it received was based on the amount of federal funds received by sites under its
sponsorship, Feeding Our Future received tens of millions of dollars in administrative
fees to which it was not entitled, due to its sponsorship and facilitation of fraudulent

sites participating in the program.
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 5of10

United States v. Hibo Salah Daar

15. In addition to receiving tens of millions of dollars in administrative fees,
Feeding Our Future employees solicited and received bribes and kickbacks from
individuals and sites under the sponsorship of Feeding Our Future. In effect,
Feeding Our Future operated a “pay-to-play” scheme in which individuals seeking to
operate fraudulent sites under the sponsorship of Feeding Our Future had to kick
back a portion of their fraudulent proceeds to Feeding Our Future employees. Many
of these kickbacks were paid in cash or disguised as “consulting fees” paid to shell
companies created by Feeding Our Future employees to conceal the true nature of
the payments and to make them appear legitimate.

C. The Defendant and Her Role

16. The defendant HIBO SALAH DAAR was the executive director of
Northside Wellness Center, a business located in Minnesota. DAAR registered
Northside Wellness with the State of Minnesota in or about November 2019.

17. Through Northside Wellness, DAAR participated in the Federal Child
Nutrition Program as a distribution site under the sponsorship of Feeding Our
Future. As a distribution site, Northside Wellness was supposed to provide food and
meals to children participating in the Federal Child Nutrition Program; Northside
Wellness would be reimbursed for the cost of the food and meals it provided.

18. In all, between approximately January 2021 and January 2022,
Northside Wellness Center submitted over $2.4 million in reimbursement claims to
Feeding Our Future for meals purportedly served to children. Of that total, Northside
Wellness Center received more than $1.7 million in Federal Child Nutrition Program

funds.
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 6 of 10

United States v. Hibo Salah Daar

Scheme to Defraud the Federal Child Nutrition Program

19. From in or about October 2020 through in or about January 2022, in the
State and District of Minnesota, and elsewhere, the defendant,

HIBO SALAH DAAR,

and others known and unknown to the grand jury, did knowingly devise and
participate in a scheme and artifice to defraud and to obtain money by means of
materially false and fraudulent pretenses, representations, and promises, and by
concealment of material facts, and for the purpose of executing this scheme caused
wire transmissions to be sent in interstate commerce.

20. Amain purpose of the scheme and artifice to defraud was to fraudulently
obtain millions of dollars in Federal Child Nutrition Program funds by causing the
submission of fraudulent information, including falsified invoices and meal count
records with substantially inflated figures. As a food site operator in the
Federal Child Nutrition Program, DAAR was responsible for serving food to children.
However, in furtherance of the scheme, DAAR and her conspirators caused the
submission to Feeding Our Future and to the Minnesota Department of Education of
false information, such as meal counts, rosters, and invoices, and DAAR consequently
received Federal Child Nutrition Program funds that substantially exceeded the
small amount of food that DAAR served to children.

DAAR’s Role in the Scheme to Defraud

21. In furtherance of the scheme to defraud, in or about October 2020, DAAR

applied with Feeding Our Future for Northside Wellness Center to operate as a food
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 7 of 10

United States v. Hibo Salah Daar

program site under Feeding Our Future’s sponsorship. DAAR thereafter purported
to operate the Northside Wellness site in Minneapolis.

22. At that site, DAAR claimed to serve tens of thousands of meals to
children. In reality, DAAR’s operations served only a small fraction of those claimed
amounts.

23. In furtherance of the scheme, DAAR completed meal count sheets falsely
representing that the Northside Wellness site fed thousands of meals to children
daily, for months. At times, DAAR represented in those meal counts to be serving
about 40,000 meals to children every week. DAAR signed those meal counts,
representing them to be accurate. However, as DAAR knew, those meal counts were
false and inflated. DAAR then caused those counts to be submitted to Feeding Our
Future in support of Northside Wellness’s fraudulent claims for reimbursement.

24. DAAR also submitted to Feeding Our Future fraudulent invoices
purporting to detail food purchased by Northside Wellness for use in feeding children
within the food program. Among Northside Wellness’s purported food vendors was a
company called Alif Halal. Alif Halal was located in Burnsville, Minnesota and was
owned and operated by a woman named Hoda Abdi. Hoda Abdi provided DAAR with
false receipts from Alif Halal purporting to document food purchased by Northside
Wellness. DAAR knew the Alif Halal receipts were false and inflated. Even so, DAAR
provided those receipts to Feeding Our Future in support of DAAR’s claims for
reimbursement. In exchange for those false invoices, DAAR paid Hoda Abdi at least

$10,000.
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 8 of 10

United States v. Hibo Salah Daar

25. DAAR also submitted to Feeding Our Future phony rosters purporting
to list the names of children who were served meals at the Northside Wellness site.
As DAAR knew, those rosters did not accurately reflect the identities and numbers of
children actually fed at Northside.

26. Between approximately March 2021 and January 2022, Northside
Wellness received more than $1.7 million in Federal Child Nutrition Program funds
directly from Feeding Our Future. However, little of this money was used by DAAR
to purchase food.

27. Instead, DAAR—who controlled the Northside Wellness bank account—
diverted most of those taxpayer dollars to friends, associates, family, and to herself.

28. Between about May 2021 to July 2021, DAAR also diverted $72,000 of
those food program dollars to a Feeding Our Future employee named Hadith Ahmed.
DAAR provided that $72,000 via three checks written from the Northside Wellness
bank account to Ahmed and his shell company, Mizal Consulting. Contrary to the
memo lines on those checks, however, neither Ahmed nor Mizal provided any
consulting or delivery services to Northside Wellness or to DAAR. Rather, DAAR’s
payments to Ahmed were kickbacks. DAAR paid those kickbacks to Ahmed in
exchange for Ahmed and Feeding Our Future taking the steps necessary to process

DAAR’s fraudulent reimbursement claims and get DAAR paid.
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 9of10

United States v. Hibo Salah Daar

Counts 1-2
(Wire Fraud)

29. Paragraphs 1 through 28 are incorporated herein.

30. From at least in or about October 2020 through in or about January
2022, in the State and District of Minnesota, and elsewhere, the defendant,

HIBO SALAH DAAR,

and others known and unknown to the grand jury, did knowingly devise and
participate in a scheme and artifice to defraud and to obtain money by means of
materially false and fraudulent pretenses, representations, and promises, and by
concealment of material facts.

31. On or about the dates listed below, in the State and District of
Minnesota and elsewhere, the defendant, for the purpose of executing the scheme
described above, knowingly caused to be transmitted by means of a wire

communication in interstate commerce, certain writings, signs, signals, and sounds,

including the following:

1 February 26, 2021 An email from HIBO SALAH DAAR to Feeding
Our Future with the subject line “Fwd:
MealCounts.”

2 May 6, 2021 An email from HIBO SALAH DAAR to Feeding
Our Future with the subject line “Fwd:
AprilMealCount(Billing) Part 1.”

All in violation of Title 18, United States Code, Section 1348.
CASE 0:25-cr-00214-ECT-DJF Doc.9 _ Filed 05/28/25 Page 10 of 10

United States v. Hibo Salah Daar

FORFEITURE ALLEGATIONS

32. Counts 1 through 2 of this Indictment are incorporated by reference for
the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 981(a)(1)(C) in conjunction with Title 28, United States Code, Section 2461(c).

338. Ifconvicted of any of Counts 1-2 of this Indictment, the defendant shall
forfeit to the United States, pursuant to Title 18, United States Code,
Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property,
real or personal, which constitutes or is derived from proceeds traceable to Counts 1-2
of the Indictment.

34. If any of the above-described forfeitable property is unavailable for
forfeiture, the United States intends to seek the forfeiture of substitute property as
provided for in Title 21, United States Code, Section 853(p) as incorporated by Title
28, United States Code, Section 2461(c).

A TRUE BILL

ACTING UNITED STATES ATTORNEY FOREPERSON

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